   Case 4:25-cv-00150-RGE-WPK              Document 24-7        Filed 06/06/25      Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

  DENNIS DONNELLY, on behalf of himself
  and all others similarly situated,
                                                       Case No. 4:25-cv-00150-RGE-WPK
             Plaintiff,

  v.                                                   DECLARATION OF HELEN TRASK
                                                       IN SUPPORT OF DES MOINES
  DES MOINES REGISTER AND TRIBUNE                      REGISTER & TRIBUNE CO. AND
  CO., INC., J. ANN SELZER, an individual,             GANNETT CO., INC.’S RESISTANCE
  SELZER & COMPANY, and GANNETT CO.,                   TO PLAINTIFF’S MOTION FOR
  INC.,                                                REMAND

             Defendants.


        1.        My name is Helen Trask. I am the Senior Vice President of Consumer Revenue and

Transformation for Gannett Co., Inc. (“Gannett”).

        2.        I make this Declaration in support of Des Moines Register & Tribune Co. and

Gannett’s Resistance to Plaintiff’s Motion for Remand in the above-captioned matter.

        3.        Through my role as Senior Vice President of Consumer Revenue and

Transformation, I have access to data regarding the mailing and/or billing addresses provided by

subscribers to The Des Moines Register (“The Register”) when those subscribers initiated their

subscriptions.

        4.        On November 3, 2025, The Register had subscribers with mailing or billing

addresses in all 50 states.

        I declare under penalty of perjury that everything I have stated in this document is true and
correct.
        Executed this 4th day of June in 2025.


                                              ___________________________________
                                              Helen Trask
